         Case 1:13-cr-00452-ENV Document 427 Filed 08/24/16 Page 1 of 6 PageID #: 5640

AO 2458 (Rev. 02/16) Judgment in a Criminal Case
                     Sheet 1
                                                                                                                        'S D1stclt•,
                                                                                                                              Ate:. ·
                                          UNITED STATES DiSTRICT COURT
                                                        Eastern District of New York
                                                                                                                   * At.A ~a ~ ~ ,,
                                                                                                                                             17
              UNITED STATES OF AMERICA                                 ~      JUDGMENT IN A            CRIM~~~.+tr                      .,
                                   v.                                  )                                                       . ,·
                                                                       )
                             Sandy Winick                                     Case Number: 1:13CR00452(S-2)-001
                                                                       )
                                                                       )       USM Number: 82867-053
                                                                       )
                                                                       )        Richard Rosenberg, Esq.
                                                                       )       Defendant's AUomcy
THE DEFENDANT:
~pleaded guilty to     count(s)         Count 3 of a 27-count Second Superseding Indictment

O pleaded nolo contendere to count(s)
   which was accepted by the court.
O was found guilty on count(s)
   after a plea ofnot guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                    Nature or Offense                                                   Offense Ended
 18 u.s.c. § 1349                   Conspiracy to Commit Wire Fraud                                      10/17/2013




       The defendant is sentenced as provided in pages 2 through      __e__           of this judgment. The sentence is imposed pursuant to
the Sentencing Refonn Act of 1984.
D The defendant has been found not guilty on count(s)
~ Count(s)        open counts/inndictments              O is    IZI are dismissed on the motion of the United States.




                                                                      Date jff'~udgment                J



                                                                       Eric N. Vitaliano, U.S.D.J.
                                                                      Name and Title of Judge



                                                                      Date
                                                                                                AUli 1"    iua
          Case 1:13-cr-00452-ENV Document 427 Filed 08/24/16 Page 2 of 6 PageID #: 5641

AO 24SB (Rev. 02116) Judgment in Criminal Case
                       Sheet 2 - Imprisonment
                                                                                                   Judgment- Page     2    of   6
DEFENDANT: Sandy Winick
CASE NUMBER: 1:13CR00452(S-2)-001

                                                           IMPRISONMENT
          The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
tennof:
 78 (Seventy-Eight) months



    Ill The court makes the following recommendations to the Bureau of Prisons:

 The Court recommends that the defendant be placed in a facility In the NYC metropolitan area.



    IZI The defendant is remanded to the custody of the United States Marshal.

    D The defendant shall surrender to the United States Marshal for this district:
          D at
                    ---------- 0                    a.m.
          0 as notified by the United States Marshal.
                                                             0 p.m.      on



    0 The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          0   before 2 p.m. on
          0 as notified by the United States Marshal.
          0 as notified by the Probation or Pretrial Services Office.


                                                                RETURN
I have executed this judgment as follows:




          Defendant delivered on                                                      to

a - - - - - - - - - - - - - - , with a certified copy of this judgment.


                                                                                               UNITED STATES MARSHAL


                                                                        By ---~-====~~~-=~=-:-"':"":":=-=-~-~--~
                                                                                    DEPUTY UNITED STATES MARSHAL
            Case 1:13-cr-00452-ENV Document 427 Filed 08/24/16 Page 3 of 6 PageID #: 5642


AO 24SB (Rev. 02116) Judgment in a Criminal Case
                      Sheet 3 Supervised Release
                                                                                                                                  Judgment-Page       _L          of _ _6"'--_
 DEFENDANT: Sandy Winick
 CASE NUMBER: 1: 13CR00452(S-2)-001
                                                                    SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a tenn of:
 2(Two) Years

          The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
 custody of the Bureau of Prisons.
 The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from aDY. unlawful use of a controlled
 substance. The defendant shall sul>mit to one drug test within 1S days of release from imprisonment ana at least two periodic drug tests
 thereafter, as detcnnined by the court.
 D The above drug testing condition is suspended, based on the court's detennination that the defendant poses a tow risk of
      future substance abuse. (CMclc. ifappliCllble.)
          The defendant shall not possess a farearm, ammunition, destructive device, or any other dangerous weapon. (Check, ifapplic:able.J
 D        The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check. ifappllc:able.J

 D        The defendant shall comply with the re<l!lirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
          as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
          works, is a student, or was convicted of a qualifying offense. (Check, Ifappltc:able.J

 0        The defendant shall participate in an approved program for domestic violence. (Check, tfapplicable.)
        If this judgment imt>Qses a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.
                                               STANDARD CONDITIONS OF SUPERVISION
     1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
     2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
     3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
     4)    the defendant shall support his or her dependents and meet other family responsibilities;
     S)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;
      )    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment; or if such prior notification is not possible, then within
     6     forty eight hours after such change.
     7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
           controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
     8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
     9)    the defendant shall not associate with any Qersons engag_ed in criminal activity and shall not associate with any person convicted of a
           felony, unless granted pennission to do so by the probation officer;
 10)       the defendant shall P.".nnit a probation officer to visit him or her at any time at home or elsewhere and shall pennit confiscation of any
           contraband observeCI in plain view of the probation officer;
 11)       the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)       the d~f~ndant shall not enter into any agreement to act as an infonner or a special agent of a law enforcement agency without the
           penn1Ss1on of the court; and
 13)       as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
           record or ~onal histoey, or characteristics and shall pennit the probation officer to make such notifications and to confann the
           defendant s compliance with such notification requirement.
       Case 1:13-cr-00452-ENV Document 427 Filed 08/24/16 Page 4 of 6 PageID #: 5643

AO 24SB (Rev. 02/16) Judgment in a Criminal Case
         Sheet JC    Supervised Release
                                                                                         Judgment-Page   __!__   of _   __;6::;,_..._
DEFENDANT: Sandy Winick
CASE NUMBER: 1:13CR00452(S-2)-001

                                          SPECIAL CONDITIONS OF SUPERVISION
 1. The defendant shall provide full financial disclosure to the Probation Department.

 2. The defendant shall comply with the forfeiture provision In the plea agreement.

 3. If deported, the defendant may not re-enter the United States Illegally.

4. The defendant shall not possess a fireann, ammunition, or destructive device.
         Case 1:13-cr-00452-ENV Document 427 Filed 08/24/16 Page 5 of 6 PageID #: 5644

AO 24SB (Rev. 02116) Judgment in a Oiminal case
         Sheet S Criminal Monetary Penalties
                                                                                                      Judgment          5_ of
                                                                                                                 Page _ _             6
 DEFENDANT: Sandy Winick
 CASE NUMBER: 1:13CR00452(S-2)-001
                                                  CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                        Assessment                                        fin!                               Restitution
 TOTA~              s   100.00                                        s    0.00                          $    2,431,038.32


 O The detennination of restitution is deferred until                         Amended Judgment in a Criminal Case (AO 245C) will be entered
      after such detennination.
                                                             ---. An
 0 The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
      lfthe defendant makes a partial payment, each payee shall receive an approximatelypro[>ortioned pa~ent, unless s~ified otherwise in
      the priori(Y- o~er or pefC!mtage payment column below. However, pursuant to 1SU.S.C. § 3664lt), all nonfederal victims must be paid
      before the United States 1s paid.

   Name of Payee                                                            Total Loss*          Restitution Ordered Priority or Percentage
   ATTACHED AS SEALED DOCUMENT                                                                        $2,431,038.32




TOTALS                               s ______o_._oo_                                         2,431,038.32


D     Restitution amount ordered pursuant to pica agreement $         ~~~~~~~~~




D The defendant must pay interest on restitution and a tine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(t). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

IZI   The court determined that the defendant does not have the ability to pay interest and it is ordered that
      Ill the interest requirement is waived for the         D fine       121 restitution.
      0 the interest requirement for the           D   fme    D restitution is modified as follows:

• Findings for the total amount oflosses are ~ired under Chapters 109A, 110, 11 OA, and 113A ofTitle 18 for offenses committed on or after
Septemtier 13, 1994, but before April 23, 1996.
         Case 1:13-cr-00452-ENV Document 427 Filed 08/24/16 Page 6 of 6 PageID #: 5645
AO 24SB (Rev. 02116) Judgment in a Criminal Cuc
         Shect6    SchcdweofPayments
                                                                                                        Judgment- Page   ___!__    of          6
 DEFENDANT: Sandy Winick
 CASE NUMBER: 1:13CR00452(S-2)-001

                                                   SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:
 A    O Lump sum payment of S - - - - - - due immediately, balance due

            O     not later than - - - - - - - - - , or
            D     in accordance     D C, O D, D E, or                      D F below; or
 8     '21 Payment to begin immediately (may be combined with           O C,        D D, or      (;a F below);   or
 C    D Payment in equal                    (e.g., weekly, monthly. quarterly) installments of $                            over a period of
          _ _ _ _ (e.g., months or years), to commence                       (e.g., 30 or 60 days) after the date of this judgment; or

 D     D Payment in equal                   (e.g., weelcly, monthly, quarterly) installments of $                         over a period of
          _ _ _ _ (e.g., months or years), to commence                        (e.g., JO or 60 days) after release from imprisonment to a
            term of supeivision; or
 E    D Payment during the tenn of supervised release will commence within                    (e.g.. 30 or 60 days) after release from
            imprisonment The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or
 F    121 Special instructions regarding the payment of criminal monetary penalties:
             Special Assessment fee of $100.00 is due Immediately. The defendant shall pay restitution in the amount of
             $2,431,038.32 due immediately and payable at a rate of $25 per quarter while In custody, and at a rate of 10% of
             gross monthly Income while on supervised release.Payment should be submitted to the Clerk of the Court, U.S.
             District Court for the Eastem District of New York, 225 Cadman Plaza East, Brooklyn, NY 11201.and


Unless the court bas expressly ordered otheiwise, if thisju~ent imposes imprisonment, payment of criminal monet!UY pcpalties is due durin~
the period of imPrlsonment All criminal mone~ penalties, except those payments made through the Fedeial Bureau of Prisons
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed



IZI Joint and Several
      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.
       Gregory Ellis 13cr452; Gregory Cuny 13cr452; Kolt Curry 13cr452

       PLEASE SEE AlTACHED APPENDIX A (SEALED AS IT CONTAINS VICTIM NAMES)

0     The defendant shall pay the cost of prosecution.

D     The defendant shall pay the following court cost(s):

Ill   The defendant shall forfeit the defendant's interest in the following property to the United States:
        PLEASE SEE ORDER OF FORFEITURE ATTACHED



Payments shall be ~plied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(SJ fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
